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                Notice of Removal
                    Exhibit A
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                 Notice of Removal
                     Exhibit B
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 1. ISSUE DATE: (MM/DD/YYYY)
 10/2/2018

 2a. FTCA DEEMING NOTICE NO.:
 1­F00000071­18­01

 2b. Supersedes: [ ]

 3. COVERAGE PERIOD:
   From: 1/1/2019 Through: 12/31/2019                                                                          DEPARTMENT OF HEALTH AND HUMAN SERVICES
 4. NOTICE TYPE:                                                                                            HEALTH RESOURCES AND SERVICES ADMINISTRATION
 Renewal

 5. ENTITY NAME AND ADDRESS:
 Southbridge Med. Advisory Council, Inc.
 601 NEW CASTLE AVE                                                                                                       NOTICE OF DEEMING ACTION
 WILMINGTON, DE 19801                                                                                          FEDERAL TORT CLAIMS ACT AUTHORIZATION:
 6. ENTITY TYPE:                                                                                  Federally Supported Health Centers Assistance Act(FSHCAA), as amended,
 Grantee                                                                                       Sections 224(g)­(n) of the Public Health Service (PHS) Act, 42 U.S.C. § 233(g)­(n)

 7. EXECUTIVE DIRECTOR:
 Shay Scott

 8a. GRANTEE ORGANIZATION:
 Southbridge Med. Advisory Council, Inc.

 8b. GRANT NUMBER:
 H80CS00385

 9. THIS ACTION IS BASED ON THE INFORMATION SUBMITTED TO, AND AS APPROVED BY HRSA, AS REQUIRED UNDER 42 U.S.C. § 233(h) FOR THE ABOVE TITLED ENTITY AND IS
 SUBJECT TO THE TERMS AND CONDITIONS INCORPORATED EITHER DIRECTLY OR BY REFERENCE IN THE FOLLOWING:
   a. The authorizing program legislation cited above.
   b. The program regulation cited above, and,
   c. HRSA's FTCA­related policies and procedures.


 In the event there are conflicting or otherwise inconsistent policies applicable to the program, the above order of precedence shall prevail.

 10. Remarks:




 The check box [x] in the supersedes field indicates that this notice supersedes any and all active NDAs and rescinds any and all future NDAs issued prior to this notice.

 Electronically signed by Tonya Bowers, Deputy Associate Administrator for Primary Health Care on: 10/2/2018 9:54:56 AM


A printer version document only. The document may contain some accessibility challenges for the screen reader users. To access same information, a fully 508 compliant accessible
HTML version is available on the HRSA Electronic Handbooks in the FTCA Folder. If you need more information, please contact the BPHC Helpline at 877­974­BPHC (2742); Weekdays
from 8:30 AM to 5:30 PM ET.
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FTCA DEEMING NOTICE NO.:                                                 GRANT NUMBER:
1­F00000071­18­01                                                        H80CS00385




Southbridge Med. Advisory Council, Inc.
601 NEW CASTLE AVE
WILMINGTON, DE19801


Dear Shay Scott:

The Health Resources and Services Administration (HRSA), in accordance with the Federally Supported Health Centers Assistance Act (FSHCAA), as amended, sections 224(g)­(n) of
the Public Health Service (PHS) Act, 42 U.S.C. §§ 233(g)­(n), deems Southbridge Med. Advisory Council, Inc. to be an employee of the PHS, for the purposes of section 224, effective
1/1/2019 through 12/31/2019.

Section 224(a) of the PHS Act provides liability protection under the Federal Tort Claims Act (FTCA), 28 U.S.C. §§ 1346(b), 2672, or by alternative benefits provided by the United States
where the availability of such benefits precludes a remedy under the FTCA, for damage for personal injury, including death, resulting from the performance of medical, surgical, dental,
or related functions by PHS employees while acting within the scope of such employment. This protection is exclusive of any other civil action or proceeding. Coverage extends to
deemed entities and their (1) officers; (2) governing board members; (3) full­ and part­time employees; and (4) contractors who are licensed or certified individual health care
practitioners providing full­time services (i.e., on average at least 32½ hours per week for the entity for the period of the contract), or, if providing an average of less than 32½ hours per
week of such service, are licensed or certified providers in the fields of family practice, general internal medicine, general pediatrics, or obstetrics/gynecology. Volunteers are neither
employees nor contractors and therefore are not eligible for FTCA coverage under FSHCAA.

This Notice of Deeming Action (NDA) is also confirmation of medical malpractice coverage for both Southbridge Med. Advisory Council, Inc. and its covered individuals as described
above. This NDA, along with documentation confirming employment or contractor status with the deemed entity, may be used to show liability coverage for damage for personal injury,
including death, resulting from the performance of medical, surgical, dental, or related functions by PHS employees while acting within the scope of such employment.

In addition, FTCA coverage is comparable to an "occurrence" policy without a monetary cap. Therefore, any coverage limits that may be mandated by other organizations are met.

This action is based on the information provided in your FTCA deeming application, as required under 42 U.S.C. § 233(h), with regard to your entity’s: (1) implementation of appropriate
policies and procedures to reduce the risk of malpractice and litigation; (2) review and verification of professional credentials and privileges, references, claims history, fitness,
professional review organization findings, and licensure status of health professionals; (3) cooperation with the Department of Justice (DOJ) in the defense of claims and actions to
prevent claims in the future; and (4) cooperation with DOJ in providing information related to previous malpractice claims history.


Deemed health centers must continue to receive funding under Section 330 of the PHS Act, 42 U.S.C. § 254b, in order to maintain coverage as a deemed PHS employee. If the
deemed entity loses its Section 330 funding, such coverage will end immediately upon termination of the grant. In addition to the relevant statutory and regulatory requirements, every
deemed health center is expected to follow HRSA's FTCA­related policies and procedures, which may be found online at http://www.bphc.hrsa.gov.

For further information, please contact your HRSA Project Officer as listed on your Notice of Grant Award or the Bureau of Primary Health Care (BPHC) Help Line at 1­877­974­2742 or
bphchelpline@hrsa.gov.



A printer version document only. The document may contain some accessibility challenges for the screen reader users. To access same information, a fully 508 compliant accessible
HTML version is available on the HRSA Electronic Handbooks in the FTCA Folder. If you need more information, please contact the BPHC Helpline at 877­974­BPHC (2742); Weekdays
from 8:30 AM to 5:30 PM ET.
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             NOTICE OF REMOVAL
                          EXHIBIT C
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

KEYONA MCCREARY,                             )
                                             )
                       Plaintiff,            )
                                             )
                v.                           )       C.A. No.
                                             )
HENRIETTA JOHNSON                            )
MEDICAL CENTER,                              )
                Defendant.                   )



                       NOTICE OF CERTIFICATION PURSUANT TO
                          42 U.S.C. § 233(c) AND 28 C.F.R. § 15.4

          PLEASE TAKE NOTICE that David C. Weiss, United States Attorney for the District of

Delaware, hereby certifies, pursuant to his authority under 42 U.S.C. § 233(c) and 28 C.F.R § 15.4,

that Defendant Henrietta Johnson Medical Center was deemed by the Secretary of Health and

Human Services to be an employee of the Public Health Service in accordance with 42 U.S.C. §

233(g).



                                             Respectfully submitted,

                                             DAVID C. WEISS
                                             United States Attorney

                                         By: /s/ Shamoor Anis
                                             Shamoor Anis
                                             Assistant United States Attorney
                                             1313 N. Market Street
                                             P.O. Box 2046
                                             Wilmington, DE 19899-2046
                                             (302) 225-9414


Dated: 4/21/2021
